
883 So.2d 1003 (2004)
STATE ex rel. Edward J. HEBERT
v.
STATE of Louisiana.
No. 2003-KH-2474.
Supreme Court of Louisiana.
October 1, 2004.
Writ granted in part; otherwise denied. Because the terms of the statutes under which relator was sentenced do not include a prohibition on diminution of sentence pursuant to R.S. 15:571.3, see R.S. 14:31, relator's sentence is amended to delete the prohibition. Relator's eligibility is to be determined by the Department of Corrections pursuant to R.S. 15:571.3. State ex rel. Simmons v. Stalder, 93-1852 (La.1/26/96), 666 So.2d 661; cf. State ex rel. Meeks v. State, 98-1930 (La.1/29/99), 736 So.2d 820; St. Amant v. 19th J.D.C., 94-0567 (La.9/3/96), 678 So.2d 536. The district court is directed to make an entry in the minutes reflecting this change. In all other respects, the writ is denied.
